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                              8                           UNITED STATES DISTRICT COURT
                              9                        SOUTHERN DISTRICT OF CALIFORNIA
A Professional Corporation




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                             11   SCOTT A. MCMILLAN, an individual;             Case No. 3:16-cv-2186-WQH-MDD
       Los Angeles




                                  THE MCMILLAN LAW FIRM, APC,
                             12   a California professional corporation,        Hon. William Q. Hayes
                                                                                Courtroom 14B
                             13                      Plaintiffs – Appellants,
                                                                                MEMORANDUM OF POINTS
                             14            v.                                   AND AUTHORITIES IN
                                                                                SUPPORT OF DEFENDANT-
                             15   DARREN D. CHAKER, an individual,              APPELLEE DARREN D.
                                  and as trustee of PLATINUM                    CHAKER’S MOTION TO SEAL
                             16   HOLDINGS GROUP TRUST, dba                     CASE AND/OR REDACT CASE
                                  COUNTER FORENSICS; NICOLE                     RECORDS
                             17   CHAKER, an individual, and as trustee
                                  of THE NICOLE CHAKER                          [Filed Concurrently with Notice of
                             18   REVOCABLE LIVING TRUST, U/A                   Motion, Declaration of Darren D.
                                  dated August 18, 2010, VANIA                  Chaker and (Proposed) Order]
                             19   CHAKER, an individual and as
                                  beneficiary of The Island Revocable           DATE: SEPTEMBER 12, 2022
                             20   Trust under,
                                                                                NO ORAL ARGUMENT UNLESS
                             21                      Defendants – Appellees.    REQUESTED BY THE COURT
                             22
                                                                                Action Filed:    August 29, 2016
                             23                                                 Trial Date:      None
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                                  4879-3046-5838.1
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                              1                MEMORANDUM OF POINTS AND AUTHORITIES
                              2   I.    INTRODUCTION
                              3         Defendant-Appellee seeks to replace his name with John Doe and redact all
                              4   personal information in the record as defined by California Code of Civ. Proc., §
                              5   367.3, or in the alternative, as several courts have done – seal the entire record.
                              6         As a result of escaping two near death experiences, Defendant-Appellee
                              7   entered the Safe at Home Program. Government Code § 6205, defines the program:
                              8   “The Legislature finds that persons attempting to escape from actual or threatened
                              9   domestic violence, sexual assault, stalking, human trafficking, or elder or dependent
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                             10   adult abuse frequently establish new names or addresses in order to prevent their
                             11   assailants or probable assailants from finding them.” California law has taken a
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                             12   number of preventative measures to protect information about a participant in the
                             13   Safe at Home program, including:
                             14         • Confidential Mail Forwarding (per Government Codes
                                           §6207): A designated Safe at Home mailing address, as well as
                             15            other services that provide additional security are offered to
                             16            participants to use at their discretion and as part of an overall
                                           safety plan;
                             17         • Confidential Voter Registration: Participants’ voter registration
                             18            information is kept confidential from campaigns, pollsters and the
                                           media. (per Election Code §2166.5);
                             19         • Confidential Mail Forwarding (per Government Codes §6207):
                             20            A designated Safe at Home mailing address, as well as other
                                           services that provide additional security are offered to
                             21            participants to use at their discretion and as part of an overall
                             22            safety plan;
                                        • Public Records to Display Safe at Home Address: Pursuant to
                             23
                                           Government Code, sections, 6207 and 6215.5 a program
                             24            participant may request California state, county, city agencies and
                                           the courts to use his or her designated Safe at Home mailing
                             25
                                           address;
                             26         • Sealed Name Change: A participant may have a sealed name
                                           change. (Government Code §6206.4, Code of Civil Procedure
                             27
                                           §1277);
                             28
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                              1           • Data-Brokers Must Cease Offering Data About Participants:
                              2             California businesses can play an important role in preventing the
                                            exchange and sale of confidential address information. According
                              3             to Section 6208.1(b)(1) of the Government Code, a Safe at Home
                              4             participant may make a written demand of a person, business, or
                                            association to remove any display of their home address or
                              5             telephone number from the internet. Any entity receiving such a
                              6             notice is forbidden from publicly posting person information
                                            about the participant and faces criminal charges1 for failing to do
                              7             so;
                              8           • Banks: A ruling (FIN-2009-R003) by the United States
                                            Department of Treasury Financial Crimes Enforcement Network
                              9
                                            or FinCEN, issued on November 3, 2009, allows financial
                                            institutions to use an address designated by the Safe at Home
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                             10
                                            Program instead of the confidential residential address of the
                             11
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                                            participant;
                             12           • Real Estate Transactions: The California legislature, in
                                            Government Code Section 6209.5(a), authorizes Safe at Home
                             13
                                            participants to request that their residential address be replaced on
                             14             real property deeds, change of ownership forms and deeds of trust
                                            with their Safe at Home designated mailing address. The
                             15
                                            legislature requires California government agencies to comply
                             16             with the participant's request per Government Code § 6207(a)(1)
                                            unless certain governmental circumstances apply; and
                             17
                                          • Civil Record Sealing: In 2020 California enacted Code of Civil
                             18             Procedure §367.3 which expressly authorizes a protected person
                             19             to file a motion to seal all or part of a record already in the public
                                            file (see Code Civ. Proc., § 367.3(b)(4)).
                             20

                             21           As the following argument and exhibits demonstrate, Defendant-Appellee is a
                             22   crime victim who has received several threats on his life, resulting in his
                             23   participation in the Safe at Home program. Defendant-Appellee now makes this
                             24   Motion to this honorable court to reopen this case for the limited purpose sealing
                             25   and/or redaction of the record consistent with CA Code of Civ. Proc., § 367.3
                             26   subds. (a)(1)-(2).
                             27
                                  1
                             28    See Sections 6206.5, 6206.7, 6208, 6215.3, 6215.4 and 6215.7 of, and added Sections 6208.1,
                                  6208.2, and 6218.1 to, the Government Code.
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                              1   II.      REDACTION AND USE OF A PSEUDONYM UNDER CODE OF
                                           CIVIL PROCEDURE SECTION 367.3.
                              2            A.   Overview of Safe At Home Program
                              3            Overseen by the Secretary of State, California’s Safe at Home program
                              4   provides vital protections that ensure the confidentiality of qualified individuals
                              5   who would otherwise live under threat of harm.
                              6            Proof of eligibility. To obtain the protections of the statutory scheme, a
                              7   crime victim must complete an application in person at a designated community-
                              8   based victims’ assistance program. (Govt. Code, §§ 6205.5, 6206; Cal. Code Regs.,
                              9   tit. 2, § 22100.7.) The applicant must provide a “sworn statement” that (1) the
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                             10   applicant or a member of the applicant’s household is a “victim of domestic
                             11   violence, sexual assault, stalking, human trafficking, or elder or dependent adult
       Los Angeles




                             12   abuse” and (2) the applicant “has good reason” to “fear for his or her safety, the
                             13   safety or his or her children or household members.” (Govt. Code, § 6206, subd.
                             14   (a)(1).) The statutory scheme also provides for the type of evidence that should be
                             15   submitted along with the application. (Govt. Code, § 6206, subd. (a)(2).)
                             16            Government Code protections. In 1998, the Legislature first created the Safe
                             17   at Home program by enacting Government Code sections 6205 et seq. Under that
                             18   series of statutes, Safe at Home participants are entitled to receive a substitute
                             19   mailing address and their name and home address are protected in public records.
                             20   (Govt. Code, §§ 6206-6209.5.)
                             21            Code of Civil Procedure protections. In 2019, the Legislature expanded the
                             22   protections of the Safe at Home program by enacting Code of Civil Procedure,
                             23   section 367.3. That statute requires the use of the pseudonym John Doe or Jane
                             24   Doe in place of the name of protected individuals—those who are certified by the
                             25   Secretary of State as active Safe at Home participants—on all pleadings and other
                             26   documents in civil proceedings. (CA Code of Civ. Proc., § 367.3, subds. (a)(3),
                             27   (b)(1).) Under these circumstances, the parties “shall exclude or redact any
                             28   identifying characteristics of the protected person” from all discovery and other
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                              1   documents. (CA Code of Civ. Proc., § 367.3, subd. (b)(1)-(2).) The “identifying
                              2   characteristics” that must be excluded or redacted include the protected person’s
                              3   “name or any part thereof, address or any part thereof, city or unincorporated
                              4   area of residence, age, marital status, relationship to other parties, and race or
                              5   ethnic background, telephone number, email address, social media profiles,
                              6   online identifiers, contact information, or any other information, including
                              7   images of the protected person, from which the protected person’s identity can be
                              8   discerned,” including “aliases,” “online identities, pseudonyms, screen names,” and
                              9   the like. (CA Code of Civ. Proc., § 367.3, subds. (a)(1)-(2).) (emphasis added).
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                             10            As the legislative history underscores, CA Code of Civ. Proc. §367.3 is
                             11   necessary to allow protected, at-risk Californians to vindicate their rights—by
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                             12   prosecuting and defending civil cases—without exposing themselves to needless
                             13   risk of violence or harassment. Being an active participant in the Safe at Home
                             14   program is the sole criteria to redact or seal records, which evinces the Legislature’s
                             15   concern regarding Defendant-Appellee’s safety should constitute “an overriding
                             16   interest that overcomes the right of public access to the records at issue”; that his
                             17   interests will be prejudiced unless Defendant-Appellee’s name is pseudonymized
                             18   and his identifying information redacted; that this very limited form of sealing is
                             19   “narrowly tailored”; and that no “less restrictive means to achieve the overriding
                             20   interest” exists. (Ibid.)
                             21            B.        The Application of Section 367.3 is Justified in Both the Statute’s
                                                     Plain Text and The Legislature’s Stated Purpose.
                             22

                             23            Federal courts may look at state statutes and legislative record for guidance.
                             24   Folb v. Motion Picture Industry Pension & Health Plans, 16 F. Supp.2d 1164,
                             25   1170, fn.6 and 1178-1179 (N.D. Cal. 1998) [federal courts should look at state
                             26   legislature and judicial decisions adopting a privilege as an important indicator of
                             27   both reason and experience]. State rules of privilege provide persuasive weight.
                             28   Fed. R. Evid. 501; Lewis v. United States, (517 F. 2d 236 (9th Cir. 1975).          Given
                                                                               -4-
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                              1   this fact, Defendant-Appellee humbly requests the Court consider the legislative
                              2   record related to CA Code Civ. Proc., §367.3.
                              3            CA Code of Civ. Proc. §367.3 defines that as “identifying characteristics”
                              4   that must be redacted as including the protected person’s “address or any part
                              5   thereof,” “city or unincorporated area of residence,” and other “contact
                              6   information,” emphasis added].) Allowing the caption to remain the same allows a
                              7   third party to view where a lawsuit was filed, and thus by inference a part of
                              8   Defendant–Appellee’s locale of residence. Furthermore, the Legislature was acutely
                              9   aware that even if no court document actually identifies the protected person’s
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                             10   address, disclosing the person’s identity will, by definition, expose the protected
                             11   person’s location and thus subject the protected person to a substantial risk of harm
       Los Angeles




                             12   and harassment. As the legislative history for CA Code of Civ. Proc. §367.3 states,
                             13   “once ‘the participant’s name appears on a court index and the Internet, their
                             14   physical locale is known. Court records are a common tracking source for
                             15   abusers.’” (Sen. Com. On Judiciary, Analysis of Assem. Bill No. 800 (2019-2020
                             16   Reg. Sess.) July 23, 2019 p. 5.) 2 Those who would do harm to or harass the
                             17   protected person need only show up at a hearing or at trial to locate the protected
                             18   person and then trail them back home, which is specifically contrary to the goals of
                             19   the Safe at Home legislation. Code of Civil Procedure section 367.3 was enacted, in
                             20   part, to allow a protected person to vindicate themselves in court without fear of
                             21   disclosing their identity and thereby “expos[ing]” themselves to “needless risk of
                             22   violence or harm.” (Sen Floor Analysis of Assem. Bill No. 800 (2019-2020 Reg.
                             23   Sess.) Aug. 14, 2019 pp. 1, 4-6; Assem. Floor Analysis of Assem. Bill No. 800
                             24   (2019-2020 Reg. Sess.) Aug. 29, 2019 pp. 1-2.) To that end, section 367.3 broadly
                             25   protects not just a participant’s current legal name, but “any” information “from
                             26   which the protected person’s identity can be discerned,” including account
                             27
                                  2
                             28    All legislative history documents cited throughout this brief are available at
                                  https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=201920200AB800.
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                              1   names, usernames, handles, pseudonyms, aliases, and photographs. (CA Code Civ.
                              2   Proc., § 367.3, subd. (a).) (emphasis added). Without that broader scope, the
                              3   legislative intent behind CA Code of Civ. Proc. §367.3 would be thwarted.
                              4            C.        Sealing or Redaction Does Not Offend the First Amendment.
                              5            Although it is true that the public generally has a First Amendment right to
                              6   access court documents, both the United States Supreme Court and California
                              7   Supreme Court have “stress[ed]” that that “First Amendment right is not absolute”
                              8   and can be overcome by an “overriding interest” as long as the sealing is narrowly
                              9   tailored. (NBC Subsidiary (KNBC-TV), Inc. v. Superior Court (1999) 20 Cal.4th
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                             10   1178, 1206-1207, discussing Press-Enterprise Co. v. Superior Court (1986) 478
                             11   U.S. 1, 9, 13-14 [recognizing limits on “qualified First Amendment right” of
       Los Angeles




                             12   access].) the Legislature expressly conducted the key First Amendment analysis
                             13   before enacting the statute. (Assem. Com. On Judiciary, Analysis of Assem. Bill
                             14   No. 800 (2019-2020 Reg. Sess.) Mar. 26, 2019 p. 5.) The Legislature found that:
                             15   (1) Section 367.3 applies only “to a narrow class of persons that the state has
                             16   already deemed highly vulnerable to a high risk of violence” through the Safe at
                             17   Home program; and (2) that in enacting section 367.3, they were “[p]roviding all
                             18   Californians with a venue to vindicate their rights while protecting victims of
                             19   egregious crimes from additional harm is a compelling interest for the state.”
                             20   (Assem. Com. On Judiciary, Analysis of Assem. Bill No. 800 (2019-2020 Reg.
                             21   Sess.) Mar. 26, 2019 p. 5, italics added.) Without the protections of section 367.3,
                             22   Safe at Home “participants are faced with a choice between using their rights in
                             23   court and protecting themselves.” (Id. at p. 3.)
                             24            Defendant-Appellee has been found by the State of California to qualify for
                             25   the protections offer by the Safe at Home statute. Declaration of Darren D.
                             26   Chaker; Exhibits U & V. Thus, the use of the pseudonym and requirement that a
                             27   public version of filings redact Defendant-Appellee’s identifying information is
                             28   explicitly stated by the Legislature to be narrowly crafted to ensure that all parties
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                              1
                                  to the case have the necessary information to make their arguments and to ensure
                              2
                                  public access to everything about the case except for the identifying information
                              3
                                  that must be redacted to protect the safety of Safe at Home participants, which is a
                              4
                                  compelling state interest overriding First Amendment public access to records.
                              5
                                  III.     TAKING JUDICIAL NOTICE OF RECENT COURT ORDERS
                              6            WOULD AIDE THIS HONORABLE COURT SINCE THE ORDERS
                                           RELATE TO THE SPECIFIC ISSUE BEFORE THIS HONORABLE
                              7            COURT.
                              8            This Court may take into account a different court’s rulings a persuasive
                              9   evidence in favor of a party’s position. Reyn’s Pasta Bella, LLC v. Visa USA, Inc.,
                                  442 F.3d 741, 746 n.6 (9th Cir. 2006) (examining pleadings, memoranda, expert
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                             11   reports, and other documents from proceedings in another court); see also United
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                             12   States ex rel. Robinson Rancheria Citizens Council v. Borneo, Inc., 971 F.2d 244,
                             13   248.
                             14            Defendant-Appellee requests the Court consider court orders relevant to the
                             15   Motion before the court, previously obtained by Defendant-Appellee, where each
                             16   request to redact or seal its respective cases were granted. See Exhibits A-S hereto.
                             17             While, many of the above cases referenced in Exhibits A-S, for which
                             18   sealing relief was granted were over twenty-years old, but the Legislature did not
                             19   put a time frame on records which could be subject to sealing or redaction.
                             20   IV.      THE RECORD SHOULD BE SEALED SINCE IT CONTAINS
                                           NUMEROUS REFERENCES TO PROTECTED INFORMATION
                             21            CALIFORNIA LAW FORBIDS DISCLOSURE OF.
                             22            A.        Criteria to Grant the Instant Motion.
                             23            The Defendant-Appellee’s status as an active participant3 in the Safe at
                             24   Home program under Code of Civil Procedure section 367.3, itself, constitutes the
                             25   “specific facts” supporting the motion necessary to retroactively seal documents.
                             26   Under California law the typical balancing test is not required to seal or redact
                             27   3
                                   “Protected person” means a person who is an active participant in the address confidentiality
                             28   program created pursuant to Chapter 3.1 (commencing with Section 6205) of Division 7 of Title 1
                                  of the Government Code.
                                                                              -7-
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                              1   records since the only question is if the person bringing the motion a participant in
                              2   the Safe at Home Program. On September 25, 2020, the Report to the Judicial
                              3   Council, Item No.: 20-167 was issued and concluded that the applicant’s status as
                              4   an active participant in the Safe at Home program under Code of Civil Procedure
                              5   section 367.3, itself, constitutes the “specific facts” supporting the motion necessary
                              6   to retroactively seal documents.
                              7            As indicated in attached Exhibits A-S, several courts have granted
                              8   substituting John Doe for Defendant-Appellee’s name, redaction and/or sealing of
                              9   civil cases. Even prior to CA Code of Civ. Proc. §367.3 being enacted, a Texas
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                             10   court recognized in a child custody matter that the threat to Defendant-Appellee’s
                             11   safety and directed records were sealed and distribution of the record was restricted
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                             12   since disclosure of such “will result in irreparable injury to the Petitioner [Mr.
                             13   Chaker].” 4 These orders are sound since Defendant-Appellee is an active member
                             14   of Safe at Home 5, has been repeatedly stalked, who has taken numerous precautions
                             15   to safeguard his privacy such as suppressing his records in the California DMV
                             16   database6 and removing himself from data brokers.
                             17            B.        The Court May Seal the Entire Record Where the Important
                                                     Privacy Rights and the Safety of the Moving Party is Endangered.
                             18

                             19            California law allows a court “to proceed in that action using a pseudonym
                             20   and to exclude or redact other identifying characteristics of the person from all
                             21   pleadings and documents filed in the action. (CCP § 367.3(a), (b)(1).) 7” The Ninth
                             22   Circuit itself has permitted parties to proceed by pseudonym where it “is necessary
                             23   to protect a person from harassment, injury, ridicule, or personal
                             24   embarrassment….[and] when the party’s need for anonymity outweighs prejudice
                             25
                                  4
                             26     Exhibit S.
                                  5
                                    Exhibits U & V.
                             27
                                  6
                                    Exhibit W
                                  7
                                    See XXV. [§ 4.167] PROTECTING IDENTITY OF PLAINTIFF WHO IS PARTICIPANT IN
                             28   ADDRESS CONFIDENTIALITY PROGRAM:, Cal. Judges Benchbook Civ. Proc. Discovery §
                                  4.167.
                                                                        -8-
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                              1   to the opposing party and the public's interest in knowing the party's identity.”
                              2   United States v. Doe, 655 F.2d 920, 922 at n. 1 (9th Cir. 1981). As established
                              3   above, Defendant-Appellee’s involvement in the Safe at Home program meets the
                              4   entirety of these criteria.
                              5            Furthermore, the Ninth Circuit found constitutional privacy rights or “zones”
                              6   exist in Planned Parenthood of S. Arizona v. Lawall, 307 F.3d 783 (9th Cir. 2002):
                              7                “Privacy interest in avoiding disclosure of sensitive personal
                                               information, or right to informational privacy, applies both
                              8                when individual chooses not to disclose highly sensitive
                                               information to government and when an individual seeks
                              9                assurance that such information will not be made
                                               public.”(emphasis added)
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                             11            The State of California vested Defendant-Appellee with a zone of privacy by
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                             12   through CCP §367.3(a)(1) & (2). It is a zone which serves the purpose of keeping
                             13   victims unharmed by restricting almost two dozen categories of information as
                             14   protected information which are subject to redaction in court records.
                             15            Additionally, in Does I thru XXIII v. Advanced Textile Corp., 214 F.3d 1058,
                             16   1068 (9th Cir. 2000), the court found court records may be restricted (1) when
                             17   identification creates a risk of retaliatory physical or mental harm; (2) when
                             18   anonymity is necessary to preserve privacy in a matter sensitive and highly personal
                             19   nature; and (3) when the anonymous party is compelled to admit his or her intention
                             20   to engage in illegal conduct, thereby risking criminal prosecution.
                             21            Here, the first two criteria of Does I thru XXIII are met where first,
                             22   “retaliatory physical or mental harm” may materialize since death threats to
                             23   Defendant-Appellee may be carried out and the exhibits demonstrate recent threats
                             24   have been made. Second, “privacy in a matter sensitive and highly personal nature”
                             25   would be present since California law has found the classes of protected
                             26   information sought to be sealed invoke a right to privacy. See definitions of
                             27   protected information Cal. Civ. Proc. Code § 367.3 (a) (1) & (2). As District Court
                             28   Judge Marilyn L. Huff points out in Exhibit F:
                                                                              -9-
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                              1              “The Ninth Circuit allows parties to proceed anonymously when
                                             the party’s “need for anonymity” to avoid physical injury
                              2              outweighs the “prejudice to the opposing party and the public’s
                                             interest in knowing the party’s identity.” Does I thru XXIII v.
                              3              Advanced Textile Corp., 214 F.3d 1058, 1067-68 (9th Cir. 2000).
                                             That is the case here.” (emphasis added)
                              4

                              5            In this case, when a person goes to jail the threat does not cease. Safe at
                              6   Home allows the participant to renew his or her status. (Government Code §
                              7   6206(c)). Similarly, participants in WITSEC are participants for life for the reason
                              8   the threat does not cease. The threat is real and lives on where Defendant-Appellee
                              9   has been recently threatened and only a few years ago was accosted by a man in
                                  dark trench coat who attempted to gain access into Defendant-Appellee’s residence
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                             10

                             11   at night 8. It is especially concerning with today’s private industry creating a
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                             12   ‘database nation’ where court records are mined, scanned, filtered, attached to a
                             13   particular person, and then data sold to information brokers.
                             14            The Ninth Circuit has indicated that “compelling reasons sufficient to
                             15   outweigh the public’s interest in disclosure and justify sealing court records exist
                             16   when such ‘court files might have become a vehicle for improper purposes,’ such as
                             17   the use of records to gratify private spite, promote public scandal, circulate libelous
                             18   statements, or release trade secrets.9’” There can be no more of an “improper” use
                             19   of court records justifying sealing records than where a person’s life is endangered
                             20   by their not being sealed.
                             21            C.        The Governmental Interest in Sealing Records is Justified Where
                                                     the Right to Inspect Court Records is Trumped by the Individuals
                             22                      Right to be Free from Harm.
                             23            The threat is real: court records offer an abundance of intelligence to data-
                             24
                                  8
                             25     See Exhibit RR attached hereto is where a man in a ski-mask and black trench coat had attempted
                                  entry into Defendant-Appellee’s home in 2017 and where Defendant-Appellee was interviewed by
                             26   the news. Needless to say, most burglaries occur during the daytime hours and burglars do not wear
                                  trench coats or ski-masks a mile from the beach in San Diego. Defendant-Appellee believes this
                             27   person attempted to gain entry to harm himself or his family.
                                  9
                                    See, e.g., Aevoe Corp. v. AE Tech. Co., No. 2:12-CV-00053-GMN, 2014 WL 551563, at *1 (D.
                             28   Nev. Feb. 7, 2014), citing Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir.
                                  2006) and Nixon, 435 U.S. at 598, 98 S.Ct. 1306, 55 L.Ed.2d 570.
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                              1   brokers whose business it is, is to sell information about people. Money has no
                              2   conscience when it comes to a stalker with a pre-paid card to cover his tracks
                              3   desiring to locate a person.
                              4            The governmental interests in keeping crime victims who are targeted for
                              5   death or severe bodily harm is clear. California passed and has repeatedly expanded
                              6   the laws governing the Safe at Home program to keep its citizens alive. As
                              7   succinctly stated in the intent of the law, 2019 CA A.B. 800 (NS):
                              8                “Unfortunately, when participants use the court system, court
                              9                filings and associated documents (including names, addresses,
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                             10                telephone numbers, etc.), are public records. As a result,
                             11                survivors of domestic violence, sexual assault, stalking and other
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                             12                Californians intended to be protected by Safe At Home are faced
                             13                with a choice: they can exercise their rights to use the court
                             14                system , where they can be found by predators who need
                             15                only go to the court records, often available online, to track
                             16                them down, or they can forego their rights guaranteed under
                             17                law.” (emphasis added)
                             18            The enactment of the Safe at Home program and the decision to admit
                             19   Defendant-Appellee to it, shows that the State of California understands the
                             20   significance of blocking every potential identifier with respect to individuals
                             21   similarly situated to Defendant-Appellee. If the entirety of this case is not sealed,
                             22   and Defendant-Appellee’s name remains in the caption or elsewhere, he risks
                             23   disclosure of his statutorily protected information and is exposed to harm. To wit, it
                             24   would not take many steps to locate the location of Defendant-Appellee by
                             25   reviewing material within the file the State of California has deemed to be protected
                             26   information. Allowing such information to remain a public record could only lead
                             27   to Defendant-Appellee being harmed physically or emotionally.
                             28   ///
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                              1            D.        The Right to Informational Privacy in an Information Age
                                                     Requires Public Records is Sealed Especially Since So Much Data
                              2                      is Mined from Public Records.
                              3            By California giving such a broad definition of what is deemed protected
                              4   information gives Plaintiff a right to privacy in that information or “personal
                              5   matters”10 warranting sealing. Making information public in a court filing is one
                              6   thing; sharing government agency documents through a public records act request
                              7   that, as in this case, will in turn be published on the Internet, is another. “We live in
                              8   a time that has commonly been referred to as The Information Age. Technological
                              9   advances have made ... it possible to generate and collect vast amounts of personal,
                                  identifying information.... The advent of the Internet and its proliferation of users
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                             11   has dramatically increased, almost beyond comprehension, our ability to collect,
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                             12   analyze, exchange, and transmit data, *12 including personal information.” See
                             13   also, State ex rel. McCleary, 725 N.E.2d at 1149.7 “Posting on the Internet is kind
                             14   of like a bell you can't unring. 11”
                             15            The state interest in protecting crime victims by limiting information which
                             16   may assist in locating the victim is similarly etched into the state constitution.
                             17   Under Marsy’s Law, the addition of Victim’s Rights was included in the California
                             18   Constitution article I, § 28, section (b)(4) and states:
                             19                 To prevent the disclosure of confidential information or
                                                records to the defendant, the defendant’s attorney, or any other
                             20                 person acting on behalf of the defendant, which could be used to
                                                locate or harass the victim or the victim’s family or which
                             21                 disclose confidential communications made in the course of
                                                medical or counseling treatment, or which are otherwise
                             22                 privileged or confidential by law. (emphasis added).
                             23            Code of Civil Procedure § 367.3 was passed and protected information was
                             24   so broadly defined with numerous references to statutes intended to thwart
                             25

                             26
                                  10
                                     See Nixon v. Adm'r of Gen. Servs., 433 U.S. 425, 457, 97 S. Ct. 2777, 53 L. Ed. 2d 867 (1977)
                                  ("One element of privacy has been characterized as 'the individual interest in avoiding disclosure
                             27   of personal matters . . . .'").
                                  11
                                     Jess Bidgood, After Arrests, Quandary for Police on Posting Booking Photos, N.Y. Times (June
                             28   26, 2015), https://www.nytimes.com/2015/06/27/us/after-arrests-quandary-for-police-on posting-
                                  booking-photos.html (quoting a police chief about posting mug shots on Facebook).
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                              1
                                  technological methods of tracking people 12.
                              2
                                           This very industry has forced Defendant-Appellee to subscribe to a privacy
                              3
                                  company whose focus is removing people from databases. A screenshot of the
                              4
                                  Dashboard of OneRep.com which Plaintiff subscribes to indicates as of December
                              5
                                  9, 2021, Plaintiff has been removed from over 973 sites in the last year alone, 506
                              6
                                  potential sites selling information exist, and 21 removals are in progress:
                              7

                              8

                              9
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                             11            Data-brokers simply regurgitate public records information, such as the
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                             12   Court records for this case, and feed it back into websites to sell to anyone with a
                             13   credit card or often for free.
                             14            Essentially, prior to the invention of the internet and the creation of the
                             15   private data-broker industry, the primary--if not singular--way of obtaining
                             16   information about an individual's criminal record for the purpose of finding
                             17   background information was by obtaining information directly from a state
                             18   agency. Now, however, we live in a different era. Consumer reports that contain
                             19   public records that are now widely available through the use of third-party private
                             20   background check companies and oftentimes directly over the internet. Logan
                             21   Danielle Wayne, The Data-Broker Threat:102 J. Crim. L. & Criminology 253, 262
                             22   (2012).
                             23   ///
                             24   ///
                             25   ///
                             26
                                  12
                                    See generally, § 367.3(a), “gamer tags, display names, handles, login names, member names,
                             27   online identities, pseudonyms, screen names, user accounts, user identifications, usernames,
                                  Uniform Resource Locators (URLs), domain names, Internet Protocol (IP) addresses, and media
                             28   access control (MAC) addresses.”
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                              1            As such, it is even more important for this Court to consider the far-reaching
                              2   consequences of permitting the information Defendant-Appellee seeks to seal to
                              3   remain on the public record and accessible to these companies.
                              4   V.       THE COURT SHOULD EMBRACE CALIFORNIA LAW TO DECIDE
                                           THIS MOTION SINCE FEDERAL LAW IS SILENT ON THIS
                              5            EXACT ISSUE.
                              6            The recognition of important state interests which do not conflict with federal
                              7   law is a bedrock principle of our federal system. “Consideration under the
                              8   Supremacy Clause starts with the basic assumption that Congress did not intend to
                              9   displace state laws.” Maryland v. Louisiana, 451 U.S. 725, 746, 101 S.Ct. 2114,
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                             10   2128, 68 L.Ed.2d 576 (1981) (preemption case).
                             11            It has been the policy of the Court, “when state privilege law is consistent, or
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                             12   at least compatible, with federal privilege law,” to read the two together “in order to
                             13   accommodate the legitimate expectations of the state's citizens.” Id. at 688.
                             14            Federal courts frequently look to state law for guidance, where an issue of
                             15   law is ambiguous at the federal level. Indeed, the U.S. Supreme Court has
                             16   recognized:
                             17            “In 42 U.S.C. § 1988, Congress ‘quite clearly instructs [federal courts] to
                                           refer to state statutes' when federal law provides no rule of decision for
                             18            actions brought under §1983 .... [B]y its terms, §1988 authorizes federal
                                           courts to disregard an otherwise applicable state rule of law only if the state
                             19            law is ‘inconsistent with the Constitution and laws of the United States.’”
                                           (emphasis added). Board of Regents, etc v. Tomanio, 446 U.S. 478, 484-85,
                             20            100 S.Ct. 1790, 1795, 64 L.Ed.2d 440 (1980) (citations omitted).
                             21            In this instance, federal law does not have a statute similar to the California
                             22   Safe at Home program aimed at keeping victims safe. The statute serves a single
                             23   objective: keeping the victim alive and unharmed by closing avenues to learn
                             24   more about the participant. Since federal law is silent on the criteria to justify
                             25   sealing, Defendant-Appellee requests the Court to look to California law reference
                             26   repeatedly herein when deciding this Motion.
                             27            Defendant-Appellee requests this Court grant this Motion, and pursuant to
                             28   California’s Safe at Home Act, restrict the public record by removing Defendant-
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                              1   Appellee’s name from the caption and replace such with John Doe, and by
                              2   redacting all personal information contained within the record.
                              3   VI.      CONCLUSION
                              4            It is for the foregoing reasons Defendant-Appellee humbly requests this
                              5   honorable Court to grant this motion by sealing the entire case. Alternatively, if the
                              6   Court declines to seal the entire case, Defendant-Appellee requests the Court to
                              7   replace his name in the caption as John Doe and direct the Clerk of the Court to redact
                              8   all statutorily protected information as defined by Code of Civil Procedure § 367.3(a)
                              9   (1) & (2).
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                             10   Dated: August 10, 2022                       ROPERS MAJESKI PC
                             11
       Los Angeles




                             12                                                By:
                                                                                     STEPHEN J. ERIGERO
                             13                                                      Attorneys for Defendant/Appellee
                                                                                     Darren D. Chaker
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